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  1    Wesley M. Griffith, SBN 286390
       CUTTER LAW P.C.
  2    401 Watt Avenue
       Sacramento, CA 95864
  3    Telephone: (916) 290-9400
       Facsimile: (916) 588-9330
  4    E-mail: wgriffith@cutterlaw.com
  5    F. Peter Silva II, SBN 348070
       David A. McGee (pro hac vice to be filed)
  6    TYCKO & ZAVAREEI LLP
       2000 Pennsylvania Avenue, NW, Suite 1010
  7    Washington, District of Columbia 20006
       Telephone: (202) 973-0900
  8    Facsimile: (202) 973-0950
       E-mail: psilva@tzlegal.com
  9             dmcgee@tzlegal.com
 10    Jeffrey Newsome (pro hac vice to be filed)
       VARNELL & WARWICK
 11    400 N. Ashley Drive, Suite 1900
       Tampa, Florida 33602
 12    Telephone: (352) 753-8600
       Facsimile: (352) 504-3301
 13    E-mail: jnewsome@vandwlaw.com
 14
      Counsel for Plaintiffs and the Proposed Class
 15
                          UNITED STATES DISTRICT COURT
 16                     SOUTHERN DISTRICT OF CALIFORNIA
 17
       KAIDI WU and JUHYUN SO on                    Case No. '25CV1090 AGS BLM
 18    behalf of themselves and all others
       similarly situated,                          CLASS ACTION COMPLAINT FOR
 19                                                 INJUNCTIVE AND MONETARY
       Plaintiffs,                                  RELIEF
 20
                                                    Jury Trial Demanded
 21    vs.

 22    GREYSTAR REAL ESTATE
       PARTNERS, LLC dba GREYSTAR,
 23    LLC and GREYSTAR
       CALIFORNIA, INC., dba
 24    GREYSTAR,
       Defendants.
 25
 26
 27
 28
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  1   I.    INTRODUCTION
  2         1.     California faces a massive housing crisis, with some of the highest rental
  3   rates and incidences of homelessness in the United States.
  4         2.     A major cause of the California housing crisis is corporate owned and
  5   managed rental properties. These corporate properties drive down supply, drive up
  6   prices, and put profits over people.
  7         3.     One of the corporate landlords exacerbating California’s housing crisis
  8   is Defendant Greystar California, Inc. (together with Greystar Real Estate Partners,
  9   LLC, “Greystar” or “Defendants”), the largest residential landlord in the United
 10   States.
 11         4.     Greystar manages over 700,000 rental units, directly owns more than
 12   100,000 additional rental units, and has over $75 billion in managed assets.
 13         5.     To support these massive operations, Greystar has over 20,000
 14   employees, including sophisticated marketing and pricing teams.
 15         6.     Renters such as Plaintiffs and the Class depend on landlords and their
 16   affiliates, such as Greystar, to be truthful about what fees can be charged under
 17   California law and do not expect that they will be charged unlawful fees, such as
 18   separate fees for pest control and trash services in addition to rent.
 19         7.     Many residential property companies and their affiliates do not charge
 20   their tenants separate fees for pest control or trash services knowing that, under
 21   California law, such costs must be absorbed by the landlord and included in the rent.
 22   These extra hidden fees prevent consumers, such as Plaintiffs and the proposed Class,
 23   from engaging in meaningful comparison shopping between apartments when
 24   deciding where to live, which also stifles competition in the rental market.
 25         8.     By shifting the costs of pest control and trash services to tenants,
 26   Greystar unlawfully increases its profits from every rental unit where these fees are
 27   charged.
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  1         9.      To make matters worse, Greystar has intentionally and strategically
  2   engaged in “bait-and-switch” and “drip pricing” sales tactics to make their units
  3   appear cheaper than they actually are and imposes costs that are Greystar’s
  4   responsibility on to tenants after the tenant has expended significant resources in
  5   selecting an apartment.
  6         10.     Put simply, Greystar’s tactics make it impossible to actually rent from
  7   Greystar for the advertised prices and unlawfully drive-up housing costs across
  8   California.
  9         11.     Specifically, in addition to the advertised cost of rent, Greystar adds
 10   additional mandatory monthly fees that can add up to hundreds of dollars per month
 11   per tenant, including mandatory add-on fees that Greystar describes as “service fees,”
 12   “administrative fees,” “trash fees,” and “pest control fees,” among others
 13   (collectively, “Junk Fees”).
 14         12.     However they are characterized, the Junk Fees are simply mandatory
 15   additional charges that are actually part of the rental price for the units.
 16         13.     There is no way for the tenants to avoid these Junk Fees, and as a result,
 17   there is no way for tenants to actually rent their units for the advertised and agreed
 18   upon rental prices.
 19         14.     Given the prevalence of bait-and-switch tactics and junk fees, effective
 20   July 1, 2024, California expressly banned the practice.
 21         15.     Specifically, the Honest Pricing Act, S.B. 478, amended California’s
 22   Consumer Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq., (“CLRA”) to prohibit
 23   “[a]dvertising, displaying, or offering a price for a good or service that does not
 24   include all mandatory fees or charges.” Cal. Civ. Code § 1770(a)(29)(A).
 25         16.     The Honest Pricing Act further confirmed that bait and switch
 26   advertising and drip pricing were already illegal in California, providing that the “act
 27   is intended to specifically prohibit drip pricing, which . . . like other forms of bait
 28   and switch advertising, is prohibited by existing statutes, including the Unfair
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  1   Competition Law . . . and the False Advertising Law.” Cal. SB 478 at § 1(a)-(b)
  2   (emphasis added).
  3            17.   Plaintiff Juhyun So’s case is instructive. In November 2022 Plaintiff So
  4   viewed a Greystar apartment complex, the Vox, located at 3333 La Cienega Blvd,
  5   Los Angeles, CA 90016 online. The amount listed for the rent was $3,434. On
  6   November 28, 2022, Plaintiff So paid a $106.00 application fee to apply to be a tenant
  7   of Greystar at the Vox. Also on November 28, 2022, Plaintiff So was required to pay
  8   a $300 holding fee for Greystar to hold the apartment so that So could schedule a
  9   viewing.
 10            18.   On December 4, 2022, Plaintiff So did a walk through at the Vox and
 11   was provided with a breakdown of the monthly apartment costs, which appeared as
 12   follows:
 13
 14
 15
 16
 17
 18
 19
 20            19.   Greystar again reaffirmed that the monthly cost of the apartment
 21   Plaintiff So saw online was $3,434.00 per month, plus an application fee of $106 and
 22   a “SCEP fee” of $2.83 per month.
 23            20.   So decided to go forward with renting the apartment based on these
 24   terms.
 25            21.   On December 11, 2022, Plaintiff So was provided with a formal lease
 26   agreement. The new lease, however, included additional, previously undisclosed
 27   fees, which included the following mandatory fees: $20 “New Trash account fee,”
 28
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  1   $5.00 “Trash Administrative fee,” and an additional trash fee of $35 per month. In
  2   addition, Plaintiff So was presented with a $3 per month pest control fee.
  3            22.   For a 1-year span, Plaintiff So would be required to pay at least $536 in
  4   unavoidable Junk Fees that were not included in the originally advertised price of the
  5   unit, and not included in the cost breakdown So was presented at the time of viewing.
  6            23.   Having already invested considerable time and energy in selecting an
  7   apartment, including an in-person walk through, and with the pressure of needing to
  8   move, So was left no reasonable alternative other than to sign the Greystar lease with
  9   unlawful Junk Fees and other charges added on top of the originally agreed-upon
 10   price.
 11            24.   In total, Plaintiff So paid $751 in unavoidable, mandatory Junk Fees
 12   to Greystar that were not included in the advertised rental price.
 13            25.   Plaintiff Kaidi Wu’s experience is substantially similar, with Junk Fees
 14   paid to Greystar totaling $2,984.31 that were not included in the advertised rental
 15   price.
 16            26.   Like Plaintiffs, tens of thousands of Californians have been impacted by
 17   Greystar’s unlawful Junk Fee practices, which add up to tens of millions of dollars
 18   each year in illegal charges borne by consumers in the most critical of transactions.
 19            27.   As President Biden explained before leaving office, “junk fees may not
 20   matter to the very wealthy, but they matter to most other folks in homes like the one
 21   I grew up in, like many of you did. They add up to hundreds of dollars a month. They
 22   make it harder for you to pay your bills.”1
 23            28.   In fact, a 2024 estimate from the White House found that Junk Fees cost
 24   Americans over $90 billion each year.2
 25
      1
        The White House, President Biden’s State of the Union Address, The White House,
 26   https://web.archive.org/web/20250106155151/https://www.whitehouse.gov/state-
 27   of-the-union-2023/ (last visited April 29, 2025).
      2
        The White House, Readout of White House State Legislators Convening of Junk
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  1         29.    The White House is not alone. The Federal Trade Commission (“FTC”)
  2   has also issued a Junk Fee ban on short-term rentals and ticketed events.3
  3         30.    Further, on January 16, 2025, the FTC and the State of Colorado brought
  4   an enforcement action against Greystar for “deceptively advertising low monthly
  5   rents only to later saddle tenants with hundreds of dollars of hidden junk fees.”4
  6         31.    While Plaintiffs welcome the FTC’s action against Greystar, the FTC
  7   action does not seek to enforce California law against Greystar, the FTC does not
  8   seek to refund California consumers for the unlawfully charged Junk Fees, and in the
  9   current political climate, it is unclear whether the FTC’s action will proceed.
 10         32.    This action seeks to enforce California law and force Greystar to return
 11   unlawfully charged fees to Californians.
 12         33.    As the Office of the California Attorney General succinctly explained
 13   after the Honest Pricing Act was passed, “Put simply, the price a Californian sees
 14   should be the price they pay.”5 (Emphasis in original).
 15   II.   JURISDICTION AND VENUE
 16         34.    The District Court of the Southern District of California has personal
 17   jurisdiction over the parties in this matter because Plaintiff Kaidi Wu is a resident of
 18
      Fees,        The         White         House          (April        24,       2024),
 19   https://web.archive.org/web/20250116070341/https://www.whitehouse.gov/briefing
      -room/statements-releases/2024/04/24/readout-of-white-house-state-legislators-
 20   convening-on-junk-fees/ (last visited April 29, 2025).
      3
 21     Fed. Trade Comm’n, Federal Trade Commission Announces Bipartisan Rule
      Banning Junk Ticket and Hotel Fees, Fed. Trade Comm’n (Dec. 17, 2024),
 22   https://www.ftc.gov/news-events/news/press-releases/2024/12/federal-trade-
 23   commission-announces-bipartisan-rule-banning-junk-ticket-hotel-fees.
      4
        Fed. Trade Comm’n, FTC, State of Colorado Take Action Against Greystar,
 24   Nation’s Largest Multi-Family Rental Property Manager, For Deceiving Consumers
 25   About Rent Prices, Fed. Trade Comm’n (Jan. 16, 2025), https://www.ftc.gov/news-
      events/news/press-releases/2025/01/ftc-state-colorado-take-action-against-greystar-
 26   nations-largest-multi-family-rental-property-manager.
      5
 27     Cal. Dep’t of Just. Off. of Att’y Gen., SB 478 Frequently Asked Questions, Cal.
      Dep’t of Just. Off. of Att’y Gen., https://oag.ca.gov/system/files/attachments/press-
 28   docs/SB%20478%20FAQ%20%28B%29.pdf (last visited April 29, 2025).
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  1   the State of California, many of the transactions at issue occurred in San Diego
  2   County, including the transactions of Plaintiff Wu, Greystar regularly conducts
  3   business within this District, and Plaintiff Juhyun So is a resident of California and
  4   consents to this Court’s jurisdiction for purposes of this action.
  5          35.    This Court has subject matter jurisdiction pursuant to the Class Action
  6   Fairness Act, 28 U.S.C. § 1332(d), because there exists minimal diversity between
  7   class members and Defendants and because the amount in controversy exceeds
  8   $5,000,000, exclusive of interest and costs.
  9          36.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(c)
 10   because Plaintiff Kaidi Wu resides in San Diego County and Greystar’s unlawful
 11   actions, which are the subject of this action, occurred in San Diego County, among
 12   other locations within California.
 13          37.    Pursuant to California Cvil Code Section 1780(d), a declaration from
 14   Kaidi Wu, is attached as Exhibit A, confirming that venue is proper.6
 15   III.   PARTIES
 16          38.    Plaintiff Kaidi Wu resides in San Diego County and is a citizen of
 17   California.
 18          39.    Plaintiff Juhyun So resides in Los Angeles County and is a citizen of
 19   California.
 20          40.    Defendant Greystar California, Inc. is a Delaware corporation with its
 21   headquarters in Charleston, South Carolina.
 22          41.    Defendant Greystar Real Estate Partners, LLC is a Delaware corporation
 23   with its headquarters in Charleston, South Carolina.
 24
 25
      6
        Plaintiffs note that it is unlikely that this state law procedural requirement is a valid
 26   requirement in a federal action but have included a venue declaration in an abundance
 27   of caution. See Berk v. Choy, Supreme Court Case No. 24-440 (granting cert to
      resolve circuit split regarding whether state statute requiring declaration supporting
 28   a complaint is enforceable in a federal proceeding).
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  1         42.    On information and belief, Does 1-20 are individuals and/or entities who
  2   facilitate Greystar’s unlawful Junk Fee practices described in this Complaint. The
  3   identities of Does 1-20 are not presently known to Plaintiffs.
  4         43.    Plaintiffs expressly reserve their right to amend this complaint to add
  5   the Doe Defendants by name, once their identities are known.
  6   IV.   FACTUAL BACKGROUND AND GENERAL ALLEGATIONS
  7         A.     Companies like Greystar Use Junk Fees to Trick Customers into
                   Paying More than They Otherwise Would for Goods and Services.
  8
            44.    Large,    sophisticated    companies—like       Greystar—with     large,
  9
      sophisticated marketing departments know that Junk Fees ensure consumers pay
 10
      more for a good or service than they otherwise would and should pay.
 11
            45.    Indeed, the White House estimates that Junk Fees cost consumers over
 12
      $90 billion each year in the United States.7
 13
            46.    One of the most common junk fee pricing techniques is called “drip
 14
      pricing,” where a company does not disclose the total price of a product or service
 15
      until late in the purchase process or incrementally discloses to fees to the consumer
 16
      throughout the transaction, after consumers have already expended time and effort
 17
      and committed to the originally disclosed price.
 18
            47.    Once a consumer decides what to buy, he is unlikely to depart from that
 19
      decision because of the “additional cognitive effort” involved in resuming his
 20
      search.8
 21
 22
      7
 23     The White House, Readout of White House State Legislators Convening on Junk
      Fees,         The        White         House         (April     24,         2024),
 24   https://web.archive.org/web/20250116070341/https://www.whitehouse.gov/briefing
 25   -room/statements-releases/2024/04/24/readout-of-white-house-state-legislators-
      convening-on-junk-fees/ (last visited April 29, 2025).
 26   8
        Mary W. Sullivan, Economic Issues: Economic Analysis of Hotel Resort Fees,
 27   Bureau of Economics Fed. Trade Comm’n (Jan. 2017), at 16-17,
      https://www.ftc.gov/system/files/documents/reports/economic-analysis-hotel-
 28   resort-fees/p115503_hotel_resort_fees_economic_issues_paper.pdf.
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  1          48.   In other words, omitting junk fees from the advertised price induces
  2   consumers to pay a higher total price than they otherwise would have.
  3          49.   Indeed, as the companies that engage in junk fee practices are well
  4   aware, consumers choose a product or service based on the advertised disclosed “base
  5   price,” and not based on the dripped price, especially when junk fees are not
  6   adequately disclosed.9
  7          50.   Accordingly, “buyers may be hurt” because “[w]hen there is uncertainty
  8   over possible drip sizes . . . consumers more frequently fail to identify the cheapest
  9   offer.”10
 10          51.   In fact, studies show that “consumers exposed to drip pricing . . . are
 11   significantly more likely to 1) initially select the option with the lower base price, 2)
 12   make a financial mistake by ultimately selecting the option that has a higher total
 13   price than the alternative option, given the add-ons chosen, and 3) be relatively
 14   dissatisfied with their choice.”11
 15          52.   As the FTC’s Bureau of Economics has explained, the use of junk fees
 16   and drip pricing adds steps to the process of determining the actual price of a good
 17   or service, which forces consumers to pay more than they would if presented with
 18   fully disclosed prices, including all applicable fees.12
 19
 20
 21   9
        Alexander Rasch et al. Drip pricing and its regulation: Experimental evidence, 176
 22   J.         Econ.         Behavior          &         Org.        353         (2020),
      https://www.sciencedirect.com/science/article/abs/pii/S0167268120301189
 23   (“buyers . . . . based their purchase decision exclusively on the base price”) (last
      visited April 15, 2025).
 24
      10
         Id.
 25   11
         Shelle Santa, Steven K. Dallas, and Vicki G. Morwitz, Consumer Reactions to Drip
 26   Pricing,      Marketing       Science       (Jan.     15,    2020),      at     189,
      https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3924320.
 27   12
         Sullivan, Economic Issues: Economic Analysis of Hotel Resort Fees, supra note 8,
 28   at 2-3.
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  1         53.    As a result, consumers are forced either to “incur higher total search and
  2   cognitive costs or to make an incomplete, less informed decision that may result in a
  3   more costly [purchase], or both.”13
  4         54.    The FTC has thus characterized junk fees as especially egregious when
  5   they are hidden (i.e., “disclosed only at a later stage in the consumer’s purchasing
  6   process or not at all”), because openly disclosed Junk Fees would enable consumers
  7   to determine whether or not the cost favorable compared to those prices listed by
  8   competitors.14
  9         55.    Moreover, drip pricing runs afoul of the FTC Act itself. See 15 U.S.C.
 10   § 45(a)(1) (declaring unlawful “unfair or deceptive acts or practices in or affecting
 11   commerce”). And the FTC’s guidance on bait and switch advertising states that “[n]o
 12   statement . . . should be used in any advertisement which creates a false impression
 13   of the . . . value . . . of the product offered, or which may otherwise misrepresent the
 14   product in such a manner that later, on disclosure of the true facts, the purchaser may
 15   be switched from the advertised product to another.” 16 C.F.R. § 238.2(a). If the first
 16   contact is secured by the deceptive bait advertisement, it is a violation of law even if
 17   the true facts are subsequently made known to the buyer. 16 C.F.R. § 238.2(b).
 18   Through drip and/or partitioned pricing, companies induce consumers to choose a
 19
 20
      13
          Id. at 4; see also David Friedman, Regulating Drip Pricing, 31 Stanford Law &
 21   Policy Review 51 (February 18, 2019), at 67, https://ssrn.com/abstract=3337073 (“.
 22   . . sellers provide buyers with the ‘initial value’ in the form of the initially-presented
      base price. . . . Buyers are influenced by the initial value, so a lower base price would
 23   create the impression of a lower overall price.” (citing Gorkan Ahmetoglu et al.,
      Pricing Practices: A Critical Review of their Effects on Consumer Perceptions and
 24   Behaviour, 21 J. Retailing & Cons. Services 696, 697 (2014))).
      14
 25      See, e.g., Unfair or Deceptive Fees Trade Regulation Rule Commission Matter No.
      R207011, 87 Fed. Reg. 67413 (proposed Nov. 8, 2022) (to be codified 16 C.F.R. Part
 26   464) (“After a market leader took unilateral action to phase out hidden fees, the
 27   platform ‘lost significant market share and abandoned the policy after a year because
      consumers perceived the platform’s advertised prices to be higher than its
 28   competitors’ displayed prices.’” (citation omitted)).
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  1   product or service based on an advertised price (i.e., the “bait”), despite ultimately
  2   charging a different and higher price than advertised (the “switch”).
  3          56.    Given this, it is no surprise that companies are motivated to hide junk
  4   fees through drip pricing for as long as possible in the search and purchase process,
  5   as duping consumers into paying junk fees brings in substantial revenue.
  6          57.    In many instances, companies even compound the benefit they obtain
  7   through these practices by increasing junk fees at a higher rate than they increase the
  8   base price of the underlying product or service itself.15 As a result, the product or
  9   service appears cheaper to consumers than competitor products or services, even
 10   though the total cost of the product or service, inclusive of junk fees, is equally if not
 11   more expensive than those other companies’ products or services.16
 12          58.    Companies are also able to increase hidden junk fees without suffering
 13   meaningful market consequences.17 In particular, companies are free to charge
 14   excessive junk fees in part because drip pricing impedes fair, honest, and free market
 15   competition.18
 16          59.    Hence, through drip pricing, companies can charge excessive junk fees
 17   while skirting economic consequences, as shrouding the fee avoids deterring
 18   consumers from purchasing a given product or service based on a junk fee and its
 19   effect on the total price.
 20          60.    Meanwhile,      competitor    companies       and   consumers    face   the
 21   consequences. Companies that engage in drip pricing will lure consumers away from
 22   honest competitors that do not engage in such practices (and thus appear to charge
 23
 24
      15
 25      Id.
      16
         See id.
 26
      17
         Rasch et al. Drip pricing and its regulation: Experimental evidence, supra note 9.
 27   18
         Id. (“firms fiercely compete in base prices but not in drip prices,” so “total price
 28   increases when firms use drip pricing”).
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  1   higher prices) and the dishonest companies will earn a larger share and make higher
  2   profits than those competitors.19
  3         61.    Junk fees charged through drip and/or partitioned pricing also generate
  4   significant burden for individual consumers.20
  5         62.    Put simply, junk fees and drip pricing are bad for consumers, are bad for
  6   businesses, and are bad for competition.
  7         B.     California’s Housing Crisis.
  8         63.    California is in a decades long housing crisis.
  9         64.    California has the second lowest rate of homeownership in the country
 10   and the highest rate of homelessness in the nation. About half the state’s population
 11   is forced to rent, largely because they cannot afford to own a home.21
 12         65.    Corporate landlords make these circumstances worse by driving down
 13   supply, driving up costs, and generally putting profits over people.
 14         66.    Among other tools used by corporate landlords to drive up costs are
 15   sophisticated pricing algorithms that allow corporate landlords to outperform the
 16   market.
 17         67.    For example, a recent ProPublica article noted the “nation’s largest
 18   property management firm, Greystar, found that even in one downturn, its buildings
 19   using YieldStar [a pricing algorithm] ‘outperformed their markets by 4.8%,’ a
 20
 21
 22   19
         Id. (“. . . where there is uncertainty about the drip size, sellers with a high drip-
 23   price limit can earn profits above the competitive level.”).
      20
         See Unfair or Deceptive Fees Trade Regulation Rule Commission Matter No.
 24   R207011, 87 Fed. Reg. 67413 (proposed Nov. 8, 2022) (to be codified 16 C.F.R. Part
 25   464) (explaining that “[c]onsumers faced with such fees pay upward of twenty
      percent more than when the actual price was disclosed upfront,” and, as a result, such
 26   fees “impose substantial economic harms on consumers”).
      21
 27      Cristopher and Manuela Tobias, Californians: Here’s why your housing costs are
      so high, CalMatters (Oct. 15, 2024), https://calmatters.org/explainers/california-
 28   housing-costs-explainer/.
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  1   significant premium above competitors, RealPage said in materials on its website.
  2   Greystar uses RealPage’s software to price tens of thousands of apartments.”22
  3          68.   Junk fees are often part of these sophisticated marketing and pricing
  4   tactics.
  5          C.    Greystar’s Responsibility to Provide Habitable Dwellings.
  6          69.   California law requires landlords to provide livable residences to their
  7   tenants.
  8          70.   Specifically, California Civil Code § 1941.1(a) provides, in pertinent
  9   part that:
                   A dwelling shall be deemed untenantable for purposes of
 10                Section 1941 if it substantially lacks any of the following
 11                affirmative standard characteristics … (6) Building,
                   grounds, and appurtenances at the time of the
 12                commencement of the lease or rental agreement, and all
                   areas under control of the landlord, kept in every part clean,
 13                sanitary, and free from all accumulations of debris, filth,
 14                rubbish, garbage, rodents, and vermin. (7) An adequate
                   number of appropriate receptacles for garbage and rubbish,
 15                in clean condition and good repair at the time of the
                   commencement of the lease or rental agreement, with the
 16                landlord providing appropriate serviceable receptacles
                   thereafter and being responsible for the clean condition and
 17                good repair of the receptacles under his or her control ….
 18          71.   Said plainly, it is the landlord’s responsibility to pay for adequate pest
 19   control and trash services for the entire apartment building complex.
 20          72.   Therefore, landlords in California cannot lawfully charge tenants for
 21   these services as a separate fee that is not included in the disclosed cost of rent, and
 22   any provision in a Greystar lease that does this is thus improper and unconscionable,
 23   in violation of California law, and cannot be enforced.
 24          73.   Greystar divided the costs of the pest control and trash equally among
 25   all the units in the complex. These costs were not a result of any particular action or
 26
      22
 27      Heather Vogell and Haru Coryne, Rent Going Up? One Company’s Algorithm
      Could       Be        Why,          ProPublica         (Oct.       15,    2022),
 28   https://www.propublica.org/article/yieldstar-rent-increase-realpage-rent.
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  1   inaction by Plaintiffs or the Class but instead were routinely assessed every month
  2   and allocated equally among all the units.
  3         74.    Tenants such as Plaintiffs and other members of the Class depend on
  4   landlords and their affiliates, such as Greystar, to be truthful about what fees can be
  5   properly charged in a lease in California and do not expect that they will be charged
  6   improper fees that are not allowed under California law, such as separate fees for pest
  7   control and trash not included in the disclosed cost of rent.
  8         75.    Many residential property companies and their affiliates do not charge
  9   their tenants in California separate fees for pest control or trash services knowing
 10   that, under California law, such costs must be absorbed by the landlord and included
 11   in the rent. These extra fees cause consumers, such as Plaintiffs and the Class, to be
 12   unable to meaningfully compare expenses between apartments when deciding where
 13   to live, which also hurts them and the competition in the California rental market.
 14         76.     Greystar, by shifting to tenants the costs of pest control and trash,
 15   avoids covering the costs for these services, thereby increasing its profits every
 16   month from every rental unit. But this is not permitted under California law.
 17         77.    Greystar’s practice of charging improper and illegal pest control and
 18   trash fees takes unfair advantage of tenants’ reasonable expectations that basic
 19   necessities are to be included in their monthly rent. Under California law, the pest
 20   control and trash services for which Greystar charges and collects payment are
 21   essential for maintaining tenantable living conditions, which Greystar is legally
 22   responsible for providing to tenants. Shifting Greystar’s responsibilities onto tenants
 23   like Plaintiffs and the Class and charging them extra for these essential services is
 24   deceptive and unfair and violates California law. See Cal. Civ. Code §§ 1941.1(a)(6)
 25   and (7); see also Green v. Superior Court of San Francisco, 517 P.2d 1168, 1182
 26   (Cal. 1974) (under the implied warranty of habitability, “a residential landlord
 27   covenants that premises he leases for living quarters will be maintained in a habitable
 28   state for the duration of the lease”).
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  1         78.    A sample residential lease by the California Association of Realtors
  2   (“CAR”) demonstrates that only with respect to a single-family house does California
  3   law sometimes permit landlords to agree with tenants that the tenant will pay for pest
  4   control.23 In Paragraph 11.G. of that document, entitled “PERIODIC PEST
  5   CONTROL,” it states as follows:
  6
  7
  8
  9         79.    As shown above, the landlord and tenant can agree that the tenant will
 10   pay for periodic pest control “only … if the Premises is a house and the periodic pest
 11   control is being provided at the execution of this Agreement.” Moreover, it
 12   specifically lays out “[t]he current cost of such treatment” so the single-family house
 13   tenant knows what he/she is agreeing to pay. This CAR sample residential lease
 14   demonstrates how California Civil Code § 1941.1(a) applies—that in multiple-family
 15   rental properties such as those at issue here—it is the legal and financial
 16   responsibility of the landlord to pay for pest control.
 17   ///
 18   ///
 19   ///
 20
 21
 22
 23
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 25
 26
 27   23
        See, e.g., https://sparta505.com/forms_docs/Lease%20agreement%20sample.pdf
 28   (updated 12/23) (last visited April 10, 2025).
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  1         80.    A California Consumer Alert issued by the California Department of
  2   Justice, Office of the Attorney General (“Consumer Alert”),24 makes clear that it is
  3   the responsibility of the landlord to provide pest control and trash services:
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 13
 14         81.    If the landlord can simply shift the cost of pest control and trash onto
 15   the tenants, then § 1941.1 would have no meaning.
 16         D.     Greystar’s Predatory Business Model.
 17                1.     Greystar Is the Largest Residential Property Manager in the
 18                       United States, Generally Managing High-End Properties that
                          Include a Multitude of Amenities and Services.
 19
            82.    Greystar is the largest residential property management company in the
 20
      United States, managing over 700,000 rental units, directly owning more than
 21
      100,000 additional rental units, and has over $75 billion in managed assets. To
 22
      support these massive operations, Greystar has over 20,000 employees, including
 23
      sophisticated marketing and pricing teams.
 24
 25
 26   24
        See Cal. Dep’t of Just. Off. of Att’y Gen., Know Your Rights as a California Tenant
 27   Your Right to a Safe and Well-Maintained Home, Cal. Dep’t of Just. Off. of Att’y
      Gen.,        https://oag.ca.gov/system/files/media/Know-Your-Rights-Habitability-
 28   English.pdf (last visited Apr. 29, 2025).
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  1         83.    Greystar purports to provide “end-to-end property management services
  2   for residential housing, apartment homes, furnished corporate housing, and mixed-
  3   use properties incorporating retail space.”25 These services include advertising units,
  4   reviewing applications, signing tenants, and then charging and collecting Junk Fees
  5   from the tenants in excess of the originally advertised prices.
  6         84.    The properties owned and managed by Greystar are generally high-end
  7   and include features and services that go beyond standard housing or real-estate
  8   contracts. For example, many properties include gyms, recreational centers, pool
  9   tables, ping pong tables, swimming pools, cleaning services, furnishings, security
 10   services, tech services, package holding services, dry cleaning services, and
 11   concierges, among other services.
 12         85.    These additional services and amenities make clear that a contract with
 13   Greystar is for more than just real estate.
 14         86.    For example, Plaintiff Wu’s property includes a luxury pool, game
 15   room, gym, and other services and amenities. Similarly, Plaintiff So’s property
 16   includes two pools, clubhouses, a Wi-Fi lounge, coffee bar, bocce court, recording
 17   studio, fitness center, and a screening room, among other services and amenities.
 18         87.    A Greystar apartment is often more analogous to a hotel stay than a
 19   traditional apartment rental.
 20                2.     Greystar’s Deceptive Advertising Practices.
 21         88.    Greystar deceptively advertises monthly leasing costs that are lower
 22   than the actual price tenants must pay to lease Greystar rental units. The actual price
 23   is higher than the advertised price because Greystar adds on numerous mandatory
 24   Junk Fees. In addition to advertising deceptively low prices, Greystar fails to
 25   adequately inform prospective tenants about these Junk Fees.
 26
      25
 27       See Greystar, Apartment Property Management Solutions, Greystar,
      https://www.greystar.com/business-services/property-management (last visited
 28   April 29, 2025).
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  1         89.    Added together, these Junk Fees can significantly increase the cost of
  2   renting a unit at a Greystar property by tens to hundreds of dollars each month, often
  3   adding up to over $500 each year in extra costs to tenants.
  4         90.    Greystar often internally refers to the rent price, exclusive of Junk Fees,
  5   as “base rent.”
  6         91.    The Junk Fees vary depending on the specific Greystar-managed
  7   property, but typical examples include:
  8                a.    trash fees (often $25-50 per month, in addition to any separate
  9                      charge for residential trash collection);
 10                b.    monthly administrative fees for the dissemination of utility or
 11                      trash bills on top of the tenant’s portion of the utility charges
 12                      (often between $4-5 per month);
 13                c.    one time utility account set up fees of ($10-20);
 14                d.    pest control fees (typically between $1-4 per month).
 15         92.    Greystar’s Hidden Fees can take other forms as well. For example:
 16                a.    At some Greystar-managed properties, Greystar bundles several
 17                      Hidden Fees together and refers to them collectively as an
 18                      “Amenity Fee,” “Community Fee,” “Lobby Fee,” or “Lifestyle
 19                      Fee.”
 20                b.    In some cases, Greystar charges tenants monthly for
 21                      “Miscellaneous Fees” or “Miscellaneous Income.” These fees
 22                      may cover one or more of the above-described services, but they
 23                      are assessed without further explanation on the tenant’s monthly
 24                      account statement.
 25         93.    In some instances, the Junk Fees are associated with services that are
 26   advertised as amenities without any mention of an additional cost for the service (for
 27   example, some of the technology packages) or with services that relate to the basic
 28
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  1   maintenance and logistics associated with property management (for example, utility
  2   billing or pest control).
  3            94.   Greystar tenants must pay for the services described above, even if the
  4   tenants neither want nor use the services.
  5            95.   Greystar advises property owners about which mandatory ancillary
  6   services to include at their properties. Greystar also assists property owners in
  7   deciding the amount to charge tenants for those services.
  8            96.   Current and former Greystar executives have publicly touted Greystar’s
  9   ability to obtain ancillary income for property owners through the mandatory
 10   imposition of these services and their associated fees. Several third-party service
 11   vendors contracted by Greystar also promote their services, such as valet trash or
 12   package delivery, as a means of acquiring extra income from tenants on top of rent.
 13            97.   Property owners are not the only ones benefitting from the mandatory
 14   imposition of ancillary fees. Because Greystar generally receives a percentage of all
 15   nonrefundable amounts paid by tenants, the more fees Greystar-managed properties
 16   charge, the more money Greystar makes as well. For at least one preferred ancillary
 17   service vendor, Greystar also receives a percentage of all amounts paid by properties
 18   to the service vendor, which is based on the total number of units at Greystar-
 19   managed properties that mandate the service for tenants.
 20            98.   Indeed, between August 2019 and August 2022, on behalf of the
 21   property owners, Greystar collected more than $100 million in Junk Fees from
 22   tenants at Greystar-managed properties in California, Colorado, Nevada, and Utah
 23   alone.
 24            99.   Greystar does not provide a total monthly leasing price, inclusive of all
 25   mandatory fees, in its external advertisements or on its property websites. For some
 26   Greystar-managed properties from at least August 2019 until late 2024, Greystar
 27   provided fee information only after prospective tenants had completed the entire
 28   application process and paid an application fee.
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  1           100. For nearly every other Greystar-managed property, Greystar withheld
  2   fee information until after prospective tenants identified a floor plan and selected a
  3   lease duration. Even then, however, Greystar often still failed to include the full range
  4   of Junk Fees and thus continued to misrepresent the total monthly cost of renting a
  5   unit.
  6                 3.     Greystar’s Uniform Rental Agreements.
  7           101. On information and belief, all of Greystar’s California properties are
  8   subject to substantially the same Form Lease terms and policies.
  9           102. The Form Lease is a contract of adhesion consisting of boilerplate terms
 10   and provided to tenants on a take-it-or-leave-it basis.
 11           103. As a result of the standardized language, all Greystar tenants are subject
 12   to essentially identical lease terms regardless of where they reside in California.
 13           104. A sample lease is attached hereto as Exhibit B.
 14           105. Among other terms, Greystar lists the total monthly rent (which omits
 15   the Junk Fees), and it is not until much later in the Form Lease that the user will find
 16   the “Utility and Services Addendum” where Junk Fees are identified for the first
 17   time.
 18                 4.     Greystar’s Uniform Junk Fee Practices.
 19           106. Greystar charges its tenants a variety of mandatory Junk Fees that were
 20   not disclosed in the originally advertised and/or contracted for price.
 21           107. Those Junk Fees include, without limitation, the Utility Service Fee,
 22   Administrative Fees, the Trash Fee, and the Pest Control Fee, which all violate
 23   California law prohibiting “[a]dvertising, displaying, or offering a price for a good
 24   or service that does not include all mandatory fees or charges.” Cal. Civ. Code §
 25   1770(a)(29)(A).
 26           108. Greystar systematically imposes a Utility Admin Fee of between $4.00-
 27   $6.00 per month that is not disclosed in the originally displayed price to consumers.
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  1         109. There is no way for a tenant to rent a Greystar apartment without paying
  2   the Utility Admin Fee.
  3         110. Greystar systemically imposes a Trash Fee in amounts ranging from
  4   $25-$50 per month that is not disclosed in the originally displayed price to
  5   consumers.
  6         111. There is no way for a tenant to rent a Greystar apartment without paying
  7   the Trash Fee.
  8         112. Greystar systemically charges all California tenants a Pest Control Fee
  9   in amounts ranging from $1-$4 per month that is not disclosed in the originally
 10   displayed price to consumers.
 11         113. There is no way for a tenant to rent a Greystar apartment without paying
 12   the Pest Control Fee.
 13         114. When a tenant refuses to pay the Junk Fees Greystar deducts the Fee
 14   from the tenants following rent payment, meaning that the tenant will be behind on
 15   rent and subject to eviction.
 16         115. Greystar’s pricing structure and disclosure practices are deceptive
 17   because they do not include the Junk Fees as part of advertised rents and only disclose
 18   the fees after tenants have made initial payments and time commitments to Greystar.
 19         116. Greystar misrepresents the total costs of its rental units by omitting the
 20   Utility Admin Fees, Trash Fees, and Pest Control Fees from advertised rent prices.
 21         117. Tenants are not informed of the Utility Admin Fees, Trash Fees, and
 22   Pest Control Fees until they are presented with the Form Lease, which is well after
 23   they have already expended substantial effort into searching for a rental, initiating
 24   the rental process, paying non-refundable application fees, administrative fees,
 25   security deposits, pet deposits and their first month’s rent. Thus, at the point the
 26   Utility Admin Fee, Trash Fees, and Pest Control Fees are disclosed, it is near-
 27   impossible and incredibly cost prohibitive to find alternative housing to avoid the
 28   Junk Fees.
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  1         118. Through the imposition of Junk Fees, Greystar misrepresents the
  2   characteristics and identity of the product and services received for the payment of
  3   monthly rents.
  4         119. By advertising rental housing in exchange for a monthly rent amount,
  5   Greystar represents that tenants will receive a suitable dwelling place in exchange for
  6   the payment of monthly rent. However, tenants later learn that they will not receive
  7   a suitable dwelling place without additional purchases in the form of additional
  8   mandatory fees.
  9         120. Greystar continues to misrepresent the characteristics and identity of the
 10   product and services received in exchange for the payment of monthly rents.
 11         121. Worse yet, tenants do not receive any additional utility services by
 12   paying the Utility Admin Fee. Tenants’ ledgers show that they are already paying a
 13   fee for the utilities of gas, trash, and sewer, and electricity is paid for by the tenant
 14   directly to the relevant electricity provider.
 15         122. The Utility Admin Fee is nothing but a pure profit generator without any
 16   actual purpose.
 17         123. Greystar’s deceptive advertising, pricing structure, and inflation of its
 18   fees all harm California consumers. Consumers are unable to truly compare the cost
 19   of different apartments and are financially harmed when they must pay fees they did
 20   not expect (and may be unable to afford). And consumers are also harmed by
 21   Greystar’s mandatory inflated fees, which tenants have no opportunity to negotiate,
 22   and which may balloon in Greystar’s sole discretion.
 23         124. Greystar charged Plaintiff Wu $4.75 per month, or $57 a year, on top of
 24   advertised leasing rates, for the simple privilege of providing the Wu with the ability
 25   to pay rent. Greystar charged Plaintiff So $5 per month, or $60 per year, on top of
 26   advertised leasing rates, for the simple privilege of being able to also pay a trash fee.
 27   On information and belief, Greystar charges approximately $50-$60 per year in
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  1   utility administration fees to all California tenants, thereby generating tens of
  2   millions of dollars in unlawful fees.
  3            125. Greystar charged Plaintiff Wu and Plaintiff So amounts ranging from
  4   $35 to $50 per month, or $420 to $600 a year, on top of advertised leasing rates, to
  5   live in an apartment where they can dispose of trash. On information and belief,
  6   Greystar charges approximately $420 to $600 per year to all California tenants,
  7   thereby generating tens of millions of dollars in unlawful fees.
  8            126. Greystar charged Plaintiff Wu and Plaintiff So amounts ranging from
  9   $1.12 to $3 per month, or $13.44 to $36 a year, on top of advertised leasing rates, to
 10   live in an apartment that is pest free. On information and belief, Greystar charges
 11   approximately $13.44 to $36 per year to all California tenants, thereby generating
 12   millions of dollars in unlawful fees.
 13            127. Greystar’s Utility Admin Fee, Trash Fee, and Pest Control Fee are
 14   precisely the type of “Junk Fees” that have come under government scrutiny in recent
 15   years:
                     Junk fees are fees that are mandatory but not transparently
 16                  disclosed to consumers. Consumers are lured in with the
 17                  promise of a low price, but when they get to the register,
                     they discover that price was never really available. Junk
 18                  fees harm consumers and actively undermine competition
                     by making it impractical for consumers to compare prices,
 19                  a linchpin of our economic system.26
 20            128. As the Federal Trade Commission said recently in its effort to combat
 21   junk fees:
 22                  [M]any consumers said that sellers often do not advertise
                     the total amount they will have to pay, and disclose fees
 23                  only after they are well into completing the transaction.
                     They also said that sellers often misrepresent or do not
 24
 25
      26
        The White House, The Price Isn’t Right: How Junk Fees Cost Consumers and
      Undermine Competition, The White House (March 5, 2024), available at
 26   https://bidenwhitehouse.archives.gov/cea/written-materials/2024/03/05/the-price-
      isnt-right-how-junk-fees-cost-consumers-and-undermine-competition/ (last visited
 27   April 29, 2025).
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  1                adequately disclose the nature or purpose of certain fees,
                   leaving consumers wondering what they are paying for or
  2                if they are getting anything at all for the fee charged.27
  3         129. In its 2013 publication “Disclosures: How to Make Effective
  4   Disclosures in Digital Advertising, the FTC makes clear that when advertising and
  5   selling are combined on a website, and the consumer will be completing the
  6   transaction online, the disclosures should be provided before the consumer makes the
  7   decision to buy – for example, before the consumer “add[s] to shopping cart.”28
  8         130. Greystar violates federal guidance by adding Junk Fees so late in the
  9   rental process well after the consumer “add[s] to shopping cart”, and by failing to
 10   disclose the nature of the Junk Fees and whether consumers are getting a benefit at
 11   all from the fee charged. Worse yet, there is no actual additional administration of
 12   utilities performed where the tenants are already paying for utilities.
 13         131. The Junk Fees provides no additional value to consumers not already
 14   paid for by the tenant. There is no additional “administration” provided by Greystar.
 15   The Junk Fees are merely a second payment for the services for which the tenants are
 16   already paying Greystar.
 17         132. Greystar imposes undisclosed, deceptive, and unfair junk fees on
 18   families who are coerced into believing that they have no choice but to pay them. By
 19   this conduct, Greystar has engineered a “pay junk fees to play” scheme. Having
 20   invested substantial time, money, and resources into preparing for a move, tenants
 21   are left with no choice but to pay the Junk Fees unilaterally set by Greystar with zero
 22   relationship to the service actually being provided.
 23
      27
 24      Fed. Trade Comm’n, FTC Proposes Rule to Ban Junk Fees – Proposed rule would
      prohibit hidden and falsely advertised fees, Fed. Trade Comm’n (October 11, 2023)
 25   https://www.ftc.gov/news-events/news/press-releases/2023/10/ftc-proposes-rule-
      ban-junk-fees.
 26   28
         See Fed. Trade Comm’n, .com Disclosures: How to Make Effective Disclosures
 27   in Digital Advertising at ii, 14 (Mar. 2013),
      https://www.ftc.gov/sites/default/files/attachments/press-releases/ftc-staff-revises-
 28   online-advertising-disclosure-guidelines/130312dotcomdisclosures.pdf.
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  1         E.     California’s Junk Fee Ban.
  2         133. Given the widespread use of junk fees, drip pricing, and bait and switch
  3   tactics, in 2023, California took decisive action to protect its citizens.
  4         134. On October 7, 2023, California enacted the Honest Pricing Act
  5   (effective July 1, 2024), which expressly banned junk fees in California by
  6   prohibiting businesses from “[a]dvertising, displaying, or offering a price for a good
  7   or service that does not include all mandatory fees or charges.” Cal. Civ. Code §
  8   1770(a)(29)(A).
  9         135. The Honest Pricing Act further confirmed that drip pricing and bait and
 10   switch advertising were already illegal in California, providing that the “act is
 11   intended to specifically prohibit drip pricing, which . . . like other forms of bait and
 12   switch advertising, is prohibited by existing statutes, including the Unfair
 13   Competition Law . . . and the False Advertising Law.” Cal. SB 478 at § 1(a)-(b)
 14   (emphasis added).
 15         136. The key provisions of the Honest Pricing Act were added to California’s
 16   Consumer Legal Remedies Act Cal. Civ. Code §§ 1750, et seq., (“CLRA”) at Section
 17   1770(a)(29)(A), which provides robust enforcement tools for consumers, including:
 18                a.     Prohibiting the waiver of any substantive rights provided for
 19                       under the CLRA. Id. § 1750
 20                b.     Requiring that the CLRA “shall be liberally construed and applied
 21                       to promote its underlying purposes, which are to protect
 22                       consumers against unfair and deceptive business practices and to
 23                       provide efficient and economical procedures to secure such
 24                       protection.” Id. § 1760.
 25                c.     Establishing a substantive right to litigate in the forum where the
 26                       transaction occurred. Id. § 1780(d).
 27                d.     Establishing a substantive right to pursue class claims. Id. § 1781;
 28                       see also id. § 1752.
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  1               e.    Authorizing injunctive relief. Id. § 1780(a)(2)
  2               f.    Authorizing actual damages. Id. § 1780(a)(1).
  3               g.    Authorizing restitution of unlawfully taken sums. Id. §
  4                     1780(a)(3).
  5               h.    Authorizing punitive damages. Id. § 1780(a)(4).
  6               i.    Authorizing statutory damages of $1,000 per violation. Id. §
  7                     1780(a)(1).
  8               j.    Authorizing statutory damages of $5,000 per injured individual,
  9                     where the unlawful conduct was directed against the elderly or
 10                     the disabled. Id. § 1780(b)(1).
 11               k.    Requiring that the Court “shall award court costs and attorney’s
 12                     fees to a prevailing plaintiff in litigation.” Id. § 1780(e).
 13         137. To help guide businesses into compliance with the law, on May 8, 2024,
 14   the California’s Office of the Attorney General issued a robust set of “Frequently
 15   Asked Questions” about what the Honest Pricing Act requires of businesses.29
 16   ///
 17   ///
 18   ///
 19
 20
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 26   29
        Cal. Dep’t. of Just. Off. of the Attn’y Gen., SB 478 Frequently Asked Questions,
 27   Cal.        Dep’t.       of        Just.       Off.      of       the      Attn’y
      Gen.https://oag.ca.gov/system/files/attachments/press-
 28   docs/SB%20478%20FAQ%20%28B%29.pdf (last visited April 29, 2024).
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  1         138. Among other guidance, the Attorney General’s FAQ, answers the
  2   following core questions:
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  1            F.    Greystar’s Decision to Ignore the California Junk Fee Ban.
  2            139. Greystar is aware that pricing is the top consideration for most
  3   prospective tenants when choosing a rental unit. Greystar also knows, through many
  4   complaints from tenants and prospective tenants and lawsuits, that it is
  5   misrepresenting the price of rental units and deceiving consumers about the true cost
  6   of renting a unit with Greystar.
  7            140. Despite widespread media attention regarding the Honest Pricing Act,
  8   Greystar did not update its practices by July 1, 2024.
  9            141. Despite having had over eight months to bring its practices into
 10   compliance since the passage of the ban in October 2023, Greystar did not update its
 11   practices by July 1, 2024.
 12            142. Despite the California’s Office of the Attorney General issuing public
 13   guidance on compliance in May 2024, Greystar did not update its practices by July
 14   1, 2024.
 15            143. Despite many other companies bringing their practices into compliance
 16   at the last minute, Greystar did not update its practices by July 1, 2024.
 17            144. Put simply, Greystar made a conscious decision to ignore California’s
 18   Junk Fee ban.
 19            G.    The FTC’s Enforcement Action Against Greystar.
 20            145. On January 16, 2025, the FTC and the State of Colorado brought an
 21   enforcement action against Greystar for “deceptively advertising low monthly rents
 22   only to later saddle tenants with hundreds of dollars of hidden junk fees.”30
 23            146. A true and correct copy of the FTC’s Complaint against Greystar is
 24   attached as Exhibit C, and those allegations are expressly included by reference into
 25   this Complaint as if fully stated herein.
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 28        See supra, Fn. 4.
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  1         147. While Plaintiffs welcome the FTC’s action against Greystar, notably,
  2   the FTC action does not seek to enforce California law against Greystar, the FTC’s
  3   Complaint does not seek a refund for California consumers of the unlawfully charged
  4   Junk Fees, and in the current political climate, it is unclear whether the FTC action
  5   will move forward.
  6         H.     Plaintiffs’ Experience with Greystar’s Unlawful Junk Fees.
  7                1.      Plaintiff Kaidi Wu’s Experience.
  8         148. Plaintiff Wu is originally from Michigan, but moved to San Diego,
  9   California right at the start of the COVID-19 pandemic to start her doctoral program
 10   at San Diego State University.
 11         149. In August 2020, Plaintiff Wu moved into an apartment in San Diego,
 12   but due to habitability concerns, was forced to leave it. While searching for new
 13   housing, and under intense pressure to find permanent housing, Plaintiff Wu found
 14   an apartment on the Greystar website, located at 8800 Lombard Place, San Diego,
 15   CA 92122, called Palisade UTC.
 16         150. Palisade UTC was developed and built by an Australian based company,
 17   Westfield, in partnership with Greystar. Palisade UTC was owned by UTC
 18   Residential Owner LLC, but has been managed and leased by Greystar since it was
 19   finished in 2019.
 20         151. When Plaintiff Wu found UTC Palisade online, the apartment was listed
 21   for $2,625 per month on the Greystar website. The listing made no mention of
 22   mandatory Junk Fees.
 23         152. On or about August 15, 2020, Plaintiff Wu called to see a unit and was
 24   told to apply and pay an application fee. As a part of the application process, Plaintiff
 25   Wu had to provide employment information and information on her past tenancy.
 26   Plaintiff Wu also paid the $50.94 application fee.
 27         153. On or about August 15, 2020, Plaintiff Wu visited UTC Palisade and
 28   toured an apartment. After touring the apartment, Plaintiff Wu was presented with a
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  1   lease agreement where Greystar, for the first time, disclosed that Plaintiff Wu was
  2   required to pay Junk Fees including a Utility Administration Fee, Trash Fee, and Pest
  3   Control Fee.
  4         154. Plaintiff Wu asked whether these Junk Fees could be avoided and what
  5   they were for. Plaintiff Wu was told that the Junk Fees were non-negotiable and
  6   mandatory.
  7         155. Because Plaintiff Wu had invested time and money into visiting UTC
  8   Palisade, and because of the mounting pressure to find permanent housing, Plaintiff
  9   Wu signed the 2020 Lease.
 10         156. From August 2020 through August 2022, Plaintiff Wu was charged
 11   monthly junk fees totaling $40.87, including a “pest control” fee of $1.12, a “monthly
 12   administrative billing fee” of $4.75, and a “trash fee” of $35.
 13         157. Each of these fees were for services that are the responsibility of
 14   Greystar and should not have been passed on to Plaintiff Wu.
 15         158. Between August 2020 and August 2022, Plaintiff Wu paid at least
 16   $980.88 in Junk Fees.
 17         159. After August 2022, Plaintiff Wu went month-to-month with Greystar
 18   for 29 months. During the 29-month period, Greystar fluctuated the amount of Junk
 19   Fees, including increasing the “monthly administrative billing fee” to $4.95 and
 20   increasing the Trash Fee to $50 in November 2023.
 21         160. As a result of Greystar’s Junk Fee scheme, Plaintiff Wu has paid at
 22   least $2,984.31 in Junk Fees that were not included in the advertised rental price.
 23                  2.   Plaintiff Juhyun So’s Experience.
 24         161. In November 2022 Plaintiff So viewed a Greystar apartment complex,
 25   the Vox, located at 3333 La Cienega Blvd, Los Angeles, CA, 90016 online. The
 26   amount listed for the rent was $3,434.
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  1         162. The Vox was developed and built by Greystar in 2022 and is located in
  2   West Los Angeles. Plaintiff So would go on to be one of the first tenants in a, at that
  3   time, mostly vacant building.
  4         163. On November 28, 2022, Plaintiff So paid a $106.00 application fee to
  5   apply to be a tenant of Greystar at the Vox. As part of the application process,
  6   Plaintiff So had to provide employment information and information on past tenancy.
  7         164. Also on November 28, 2022, Plaintiff So was required to pay a $300
  8   holding fee for Greystar to hold the apartment to tour it. Again, this apartment
  9   complex was mostly vacant and yet Greystar demanded a $300 holding fee to hold
 10   the vacant apartment for Plaintiff So.
 11         165. On December 4, 2022, Plaintiff So did a walk-through at the Vox and
 12   was provided with a breakdown of the monthly costs, which appeared as follows:
 13
 14
 15
 16
 17
 18
 19         166. Greystar again reaffirmed that the cost of the apartment Plaintiff So saw
 20   online, applied for, paid an application fee for, paid a $300 holding fee for, and
 21   viewed in person, was $3,434 per month, now pus a “SCEP fee” of $2.83. Under the
 22   section titled “Fees,” Greystar listed nothing other than the $106.00 application fee.
 23         167. On December 11, 2022, Plaintiff So was provided with a formal lease
 24   agreement which included the following mandatory fees: $20 “New Trash account
 25   fee;” $5.00 “Trash Administrative fee,” and an additional trash fee of $35 per month.
 26   In addition, Plaintiff So was presented with a $3 per month pest control fee.
 27         168. For a 1-year span, Plaintiff So would be required to pay $536 for
 28   unavoidable junk fees.
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  1          169. With the pressure of needing to move and the fact that Plaintiff So had
  2   invested time and money into the transaction, Plaintiff So agreed to sign the lease on
  3   December 11, 2022. A copy of Plaintiff So’s lease is attached as Exhibit B.
  4          170. During this 15-month lease term, Plaintiff So paid $751 in unavoidable,
  5   mandatory Junk Fees that were not included in the advertised rental price.
  6   V.     CLASS ALLEGATIONS
  7          171. This action is brought and may properly proceed as a class action
  8   pursuant to Federal Rule of Civil Procedure 23 (“Rule 23”), including, without
  9   limitation, Sections (b)(2) and (b)(3) of Rule 23.
 10          172. Plaintiffs seek certification of the following class (the “Class”):
 11                 All persons who were charged a mandatory fee by Greystar
                    that exceeded the advertised and/or contracted rental rate
 12                 for a residential lease in California within the six years
 13                 prior to the filing on this action.

 14                 All persons who paid Greystar separate fees for pest
                    control, trash/trash administrative, and/or utility
 15                 administrative services not included in the rent for a
                    residential lease in California within the six years prior to
 16                 the filing on this action
 17
             173. Greystar’s deceptive Junk Fee practices violated each Class members’
 18
      individual statutory right to truthful information from Greystar about the actual price
 19
      of rent.
 20
             174. Greystar’s deceptive Junk Fee practices have resulted in actual injury
 21
      and harm to the Class members in the amount of the Junk Fees which were absent
 22
      from the advertised price and which they paid as a result of Greystar’s Junk Fee
 23
      practices.
 24
             175. Plaintiffs explicitly reserve their right to amend, add to, modify, and/or
 25
      otherwise change the proposed class definitions as discovery in this action
 26
      progresses.
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 28
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  1         176. The following people are excluded from any of the Class: (1) any Judge
  2   or Magistrate presiding over this action, members of their staffs (including judicial
  3   clerks), and members of their families; (2) Defendants, Defendants’ subsidiaries,
  4   parents, successors, predecessors, and any entity in which the Defendants or its
  5   parents have a controlling interest, and their current or former employees, officers
  6   and directors; (3) persons who properly execute and file a timely request for
  7   exclusion from the Class; (4) persons whose claims in this matter have been finally
  8   adjudicated on the merits or otherwise released; (5) Plaintiffs’ counsel and
  9   Defendants’ counsel, and non-attorney employees of their firms; and (6) the legal
 10   representatives, successors, and assigns of any such excluded persons.
 11         177. Numerosity. Plaintiffs are informed and believe that there are tens of
 12   thousands or potentially millions of members of the Class. The Class is so large that
 13   the joinder of all of its members is impracticable. The exact number of members of
 14   the class can be determined from information in the possession and control of
 15   Greystar.
 16         178. Commonality. Greystar has acted or refused to act on grounds that
 17   apply generally to the Class. Absent certification of the Class, the relief sought herein
 18   creates the possibility of inconsistent judgments and/or obligations imposed on
 19   Greystar. Numerous common issues of fact and law exist, including, without
 20   limitation:
 21                 a.    Whether Greystar is a “person” within the meaning of Section
 22                       1761(c).
 23                 b.    Whether Plaintiffs are “consumers” within the meaning of
 24                       Section 1761(d).
 25                 c.    Whether Greystar’s Junk Fee practices violate Section
 26                       1770(a)(29)(A), which prohibits “[a]dvertising, displaying, or
 27                       offering a price for a good or service that does not include all
 28                       mandatory fees or charges.”
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  1                d.     Whether Greystar’s Junk Fee practices violate Section
  2                       1770(a)(9), which prohibits “[a]dvertising goods or services with
  3                       intent not to sell them as advertised.”
  4                e.     Whether Greystar’s Junk Fee practices violate any other
  5                       provisions of the CLRA.
  6                f.     Whether Greystar’s Junk Fee practices violate the UCL and/or the
  7                       FAL.
  8                g.     Whether Greystar is liable for unjust enrichment.
  9                h.     Whether Greystar is liable for its pre-July 1, 2024 conduct under
 10                       the CLRA, the UCL, FAL, and/or common law unjust
 11                       enrichment.
 12                i.     Whether Greystar makes standardized representations to
 13                       consumers.
 14                j.     Whether Greystar uses standardized contracts.
 15                k.     Whether Greystar charges standardized Junk Fees to consumers.
 16                l.     The dates of Greystar’s practices and any purported changes to
 17                       those practices.
 18         179. Predominance. These common issues predominate over individualized
 19   inquiries in this action because Greystar’s liability can be established as to all
 20   members of the Class as discussed herein.
 21         180. Typicality. Plaintiffs’ claims against Greystar and experience with
 22   Greystar are typical, if not identical, to the claims and experiences of members of the
 23   Class because, among other reasons, Plaintiffs’ claims arise from Greystar’s practices
 24   that are applicable to the entire Class.
 25         181. Adequacy. Plaintiffs will fairly and adequately represent and protect the
 26   interests of the Class and have retained counsel competent and experienced in
 27   complex litigation and class actions. Plaintiffs’ claims are representative of the
 28   claims of the other members of the Class, as Plaintiffs and each member of the Class
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  1   lost money by paying Junk Fees to Greystar. Plaintiffs also have no interests
  2   antagonistic to those of the Class, and Greystar has no defenses unique to Plaintiffs.
  3   Plaintiffs and their counsel are committed to vigorously prosecuting this action on
  4   behalf of the Class and have the financial resources to do so. Neither Plaintiffs nor
  5   their counsel have any interest adverse to the Class.
  6         182. Superiority. There are substantial benefits to proceeding as a class
  7   action that render proceeding as a class action superior to any alternatives, including
  8   that it will provide a realistic means for members of the Class to recover damages;
  9   the damages suffered by members of the Class may be relatively small; it would be
 10   substantially less burdensome on the courts and the parties than numerous individual
 11   proceedings; many members of the Class may be unaware that they have legal
 12   recourse for the conduct alleged herein; and because issues common to members of
 13   the Class can be effectively managed in a single proceeding. Plaintiffs and their
 14   counsel know of no difficulty that could be encountered in the management of this
 15   litigation that would preclude its maintenance as a class action.
 16         183. Plaintiffs reserve the right to revise each of the foregoing allegations
 17   based on facts learned through additional investigation and in discovery.
 18   VI.   CAUSES OF ACTION
 19         A.     First Cause of Action: Violation of California’s Consumer Legal
                   Remedies Act, California Civil Code §§ 1750, et seq., on Behalf of
 20                Plaintiffs and the Class.
 21         184. Plaintiffs incorporate by reference the allegations contained in
 22   paragraphs 1 through 183, inclusive, of this Complaint.
 23         185. At all relevant times, Plaintiffs and Class were “consumers” within the
 24   meaning of the CLRA, as they were individuals seeking or acquiring, by purchase or
 25   lease, goods or services for personal, family, or household purposes.
 26         186. Greystar’s actions and conduct constituted transactions for the sale or
 27   lease of goods or services to consumers under the terms of the CLRA, namely the
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  1   selling of apartment rentals and charging mandatory Junk Fees that exceeded the
  2   price initially advertised and/or displayed to consumers.
  3         187. Greystar violated the CLRA by, among other things, making materially
  4   false statements and omitting truthful information about the Junk Fees charged to
  5   Plaintiffs and the Class.
  6         188. Specifically, Greystar violated Section 1770(a)(9), which prohibits
  7   “[a]dvertising goods or services with intent not to sell them as advertised” and
  8   Section 1770(a)(29)(A), which prohibits “[a]dvertising, displaying, or offering a
  9   price for a good or service that does not include all mandatory fees or charges.”
 10         189. Additionally, Greystar violated the CLRA by:
 11                a.     “Representing that goods or services have . . . characteristics . . .
 12                       that they do not have” (a)(5);
 13                b.     “Representing that a transaction confers or involves rights,
 14                       remedies, or obligations that it does not have or involve, or that
 15                       are prohibited by law” (a)(14);
 16                c.     “Advertising that a product is being offered at a specific price plus
 17                       a specific percentage of that price unless (A) the total price is set
 18                       forth in the advertisement, which may include, but is not limited
 19                       to, shelf tags, displays, and media advertising, in a size larger than
 20                       any other price in that advertisement, and (B) the specific price
 21                       plus a specific percentage of that price represents a markup from
 22                       the seller’s costs or from the wholesale price of the product”
 23                       (a)(20); and
 24         190. Greystar’s actions and misrepresentations were material, and Greystar’s
 25   violations of the CLRA were a substantial factor in causing Plaintiffs and the Class
 26   to incur the Junk Fee charges.
 27         191. As a direct and proximate consequence of these actions, Plaintiffs and
 28   the Class suffered injury.
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  1          192. Greystar’s conduct was malicious, fraudulent, and wanton in that it
  2   intentionally and knowingly provided misleading information to Plaintiffs and the
  3   Class for Defendants’ own benefits to the detriment of Plaintiffs and the Class.
  4          193. At this time, Plaintiffs only seek injunctive and declaratory relief for
  5   their CLRA cause of action.31
  6          B.    Second Cause of Action: Violation of California’s Unfair
                   Competition Law, Cal. Bus. & Prof. Code §§ 17200 et seq., on Behalf
  7                of Plaintiffs and the Class.
  8          194. Plaintiffs incorporate by reference the allegations contained in
  9   paragraphs 1 through 228, inclusive, of this Complaint.
 10          195. Greystar, Plaintiffs, and Class are “persons” within the meaning of the
 11   UCL.
 12          196. The UCL prohibits any “unlawful, unfair or fraudulent business act or
 13   practice,” each of which is separately actional.
 14          197. Greystar’s practices of charging Junk Fees are “unlawful” within the
 15   meaning of the UCL because, among other things, those Junk Fees violate the CLRA,
 16   with Section 1770(a)(9) prohibiting “[a]dvertising goods or services with intent not
 17   to sell them as advertised” and Section 1770(a)29(A) prohibiting “[a]dvertising,
 18   displaying, or offering a price for a good or service that does not include all
 19   mandatory fees or charges.”
 20          198. The Junk Fees further are also unlawful within the meaning of the UCL
 21   because they violate the False Advertising Act (as detailed in the Third Cause of
 22   Action, below) and also violate the FTC Act, as alleged in Paragraphs above.
 23          199. The acts and practices of Greystar as alleged herein also constitute
 24   “unfair” business acts and practices under the UCL because Greystar’s conduct is
 25   unconscionable, immoral, deceptive, unfair, illegal, unethical, oppressive, and/or
 26   31
         Pursuant to Section 1782(d) of the CLRA, Plaintiffs expressly reserve their right
 27   to amend their CLRA cause of action to add claims for monetary relief, including,
      without limitation, for actual, punitive, and statutory damages, at least 30 days after
 28   providing Greystar the notice contemplated by Section 1782(a).
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  1   unscrupulous. Further, the gravity of Greystar’s conduct outweighs any conceivable
  2   benefit of such conduct.
  3         200. Greystar has, in the course of business and in the course of trade or
  4   commerce, undertaken and engaged in unfair business acts and practices by tricking
  5   consumers into paying Junk Fees by failing to display those prices in the initially
  6   advertised prices.
  7         201. Greystar has, in the course of business and in the course of trade or
  8   commerce, charged these unlawful Junk Fees to Plaintiffs and the Class.
  9         202. Plaintiffs and the Class have suffered injury in fact—in the form of Junk
 10   Fees—and have lost money as a result of Greystar’s unlawful business acts and
 11   practices and will continue to lose money and be injured by those acts and practices
 12   if the practices are not enjoined.
 13         203. Plaintiffs and the Class seek an order providing restitution and
 14   disgorgement of all Junk Fees paid to Greystar.
 15         204. Plaintiffs and the Class further seek their attorneys’ fees and costs
 16   pursuant to California Code of Civil Procedure Section 1021.5 because Plaintiffs and
 17   the Class seek to enforce “an important right affecting the public interest” in bringing
 18   this cause of action.
 19         C.     Third Cause of Action: Violation of California’s False Advertising
                   Law, Cal. Civ. Code §§ 17500 et seq., on Behalf of Plaintiffs and the
 20                Class.
 21         205. Plaintiffs incorporate by reference the allegations contained in
 22   paragraphs 1 through 183, inclusive, of this Complaint.
 23         206. In violation of California’s False Advertising Law, Cal. Bus. & Prof.
 24   Code §§ 17500 et seq., Greystar’s advertisements, policies, acts, and practices
 25   described in this Complaint were designed to cause Plaintiffs and the Class to pay
 26   Junk Fees to Greystar, and did in fact result in Plaintiffs and the Class paying
 27   unlawful Junk Fees to Greystar.
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  1         207. Greystar knew or reasonably should have known that representations on
  2   its apartment rental interface were false and deceptive.
  3         208. Specifically, as alleged in this Complaint, Greystar’s unfair,
  4   unconscionable,    deceptive    acts,   practices,   omissions,   and/or    affirmative
  5   misstatements include, but are not limited to displaying and advertising an initial
  6   price for which a consumer could not actually complete the transaction.
  7         209. As a result, Plaintiffs and the Class, as well as the general public, are
  8   entitled to injunctive and equitable relief, restitution, and an order for the
  9   disgorgement of the funds by which Greystar was unjustly enriched.
 10         210. Plaintiffs and the Class further seek their attorneys’ fees and costs
 11   pursuant to California Code of Civil Procedure Section 1021.5 because Plaintiffs and
 12   the Class seek to enforce “an important right affecting the public interest” in bringing
 13   this cause of action.
 14         D.     Fourth Cause of Action: Breach of Contract and the Implied
                   Covenant of Good Faith and Fair Dealing on Behalf of Plaintiffs and
 15                the Class.
 16         211. Plaintiffs incorporate by reference the allegations contained in
 17   paragraphs 1 through 183, inclusive, of this Complaint.
 18         212. Plaintiffs and Greystar have contracted for the lease of a rental
 19   apartment.
 20         213. Greystar mischaracterized in the contract its true Junk Fee practices and
 21   breached the terms of the contract.
 22         214. Under California law, the covenant of good faith and fair dealing is an
 23   implied promise contained in every contract that neither party shall do anything
 24   which will have the effect of destroying or injuring the right of the other party to
 25   receive the fruits of the contract. Good faith is also mandated by the Uniform
 26   Commercial Code (“UCC”), which covers rental transactions.
 27         215. Good faith and fair dealing, in connection with executing contracts and
 28   discharging performance and other duties according to their terms, means preserving
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  1   the spirit—not merely the letter—of the bargain. Put differently, the parties to a
  2   contract are mutually obligated to comply with the substance of their contract in
  3   addition to its form. Evading the spirit of the bargain and abusing the power to specify
  4   terms constitute examples of bad faith in the performance of contracts.
  5         216. Subterfuge and evasion violate the obligation of good faith in
  6   performance even when an actor believes their conduct to be justified. A lack of good
  7   faith may be overt or may consist of inaction, and fair dealing may require more than
  8   honesty. Examples of violations of good faith and fair dealing are willful rendering
  9   of imperfect performance, abuse of a power to specify terms, and interference with
 10   or failure to cooperate in the other party’s performance.
 11         217. Under lease, Greystar has the ability to determine which charges get
 12   billed in any particular month and the manner by which those charges will be
 13   pursued.
 14         218. Greystar has also abused its discretion by grossly overcharging for its
 15   actual costs for utility administration. Further, only Greystar knows its actual costs,
 16   and by turning the Utility Admin Fees and other Junk Fees into profit centers Greystar
 17   makes it more difficult for tenants to make rent and enjoy their residences.
 18         219. Greystar has breached the covenant of good faith and fair dealing
 19   through its Junk Fee policies and practices as alleged herein.
 20         220. Greystar harms consumers by abusing its contractual discretion in a
 21   number of ways that no reasonable customer could anticipate.
 22         221. Plaintiffs and members of the Class have performed all, or substantially
 23   all, of the obligations imposed on them by the contract.
 24         222. Plaintiffs and members of the Class have sustained damages as a result
 25   of Defendants’ breach of the contract and breach of the covenant of good faith and
 26   fair dealing.
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  1         E.     Fifth Cause of Action: Unjust Enrichment, on Behalf of Plaintiffs
                   and the Class.
  2
            223. Plaintiffs incorporate by reference the allegations contained in
  3
      paragraphs 1 through 183, inclusive, of this Complaint.
  4
            224. To the detriment of Plaintiffs and the Class, Greystar has been, and
  5
      continues to be, unjustly enriched as a result of its wrongful conduct alleged herein.
  6
            225. Plaintiffs and the Class conferred a benefit on Greystar when they paid
  7
      Greystar the Utility Admin Fee, which was charged in contravention of applicable
  8
      law, and which they could not reasonably avoid.
  9
            226. Greystar unfairly, deceptively, unjustly, and/or unlawfully accepted said
 10
      benefits, which under the circumstances, would be unjust to allow Greystar to retain.
 11
            227. Greystar’s unjust enrichment is traceable to, and resulted directly and
 12
      proximately from, the conduct alleged herein.
 13
            228. Plaintiffs and the Class, therefore, seek disgorgement of all wrongfully
 14
      obtained fees received by Greystar as a result of its inequitable conduct as more fully
 15
      stated herein.
 16
      VII. PRAYER FOR RELIEF
 17
      WHEREFORE, Plaintiffs and the class members of the Class seek an Order:
 18
            A.     Certifying the proposed Class pursuant to Rule 23, appointing Plaintiffs
 19
      as Class Representatives, and appointing Plaintiffs’ counsel as Class Counsel;
 20
            B.     Declaring that Greystar is financially responsible for notifying the Class
 21
      members of the pendency of this suit;
 22
            C.     Declaring the Greystar has committed the violations of law alleged
 23
      herein;
 24
            D.     Providing for any and all injunctive relief the Court deems appropriate;
 25
            E.     Awarding statutory damages in the maximum amount for which the law
 26
      provides;
 27
            F.     Awarding monetary damages, including but not limited to any
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  1   compensatory, incidental, or consequential damages in an amount that the Court or
  2   jury will determine, in accordance with applicable law;
  3         G.       Providing for any and all equitable monetary relief the Court deems
  4   appropriate;
  5         H.       Awarding punitive or exemplary damages in accordance with proof and
  6   in an amount consistent with applicable precedent;
  7         I.       Awarding Plaintiffs their reasonable costs and expenses of suit,
  8   including attorney’s fees;
  9         J.       Awarding pre- and post-judgement interest to extent the law allows; and
 10         K.       Providing such further relief as this Court may deem just and proper.
 11
 12   Respectfully submitted,
 13
      Dated: April 29, 2025                   CUTTER LAW P.C.
 14
 15                                           /s/ Wesley M. Griffith
                                              Wesley M. Griffith, SBN 286390
 16                                           CUTTER LAW P.C.
                                              401 Watt Avenue
 17                                           Sacramento, CA 95864
                                              Telephone: (916) 290-9400
 18                                           Facsimile: (916) 588-9330
                                              E-mail: wgriffith@cutterlaw.com
 19                                           F. Peter Silva II, SBN 348070
 20                                           David A. McGee (pro hac vice to be filed)
                                              TYCKO & ZAVAREEI LLP
 21                                           2000 Pennsylvania Avenue, NW, Suite
                                              1010
 22                                           Washington, District of Columbia 20006
                                              Telephone: (202) 973-0900
 23                                           Facsimile: (202) 973-0950
                                              E-mail: psilva@tzlegal.com
 24                                                    dmcgee@tzlegal.com

 25                                           Jeffrey Newsome (pro hac vice to be filed)
                                              VARNELL & WARWICK
 26                                           400 N. Ashley Drive, Suite 1900
                                              Tampa, Florida 33602
 27                                           Telephone: (352) 753-8600
                                              Facsimile: (352) 504-3301
 28                                           E-mail: jnewsome@vandwlaw.com
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  1                              DEMAND FOR JURY TRIAL
  2         Plaintiffs hereby demands a trial by jury of Plaintiffs’ and Class Members’
  3   claims against Greystar.
  4
      Respectfully submitted,
  5
  6   Dated: April 29, 2025                   CUTTER LAW P.C.
  7                                           /s/ Wesley M. Griffith
  8                                           Wesley M. Griffith, SBN 286390
                                              CUTTER LAW P.C.
  9                                           401 Watt Avenue
                                              Sacramento, CA 95864
 10                                           Telephone: (916) 290-9400
                                              Facsimile: (916) 588-9330
 11                                           E-mail: wgriffith@cutterlaw.com

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                                              David A. McGee (pro hac vice to be filed)
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                                              Facsimile: (202) 973-0950
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                                                       dmcgee@tzlegal.com
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 19                                           Tampa, Florida 33602
                                              Telephone: (352) 753-8600
 20                                           Facsimile: (352) 504-3301
                                              E-mail: jnewsome@vandwlaw.com
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